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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 ALLIANCE FOR AUTOMOTIVE
 INNOVATION,

       Plaintiff,                                 Civil Action No. 1:20-cv-12090-DPW
 v.

 ANDREA JOY CAMPBELL in her official
 capacity as the ATTORNEY GENERAL OF
 MASSACHUSETTS,

       Defendant.


                               NOTICE OF APPEARANCE

       Please enter the appearance of the undersigned Robert M. Shaw of Holland & Knight

LLP as counsel for non-party Auto Care Association.

                                           Respectfully submitted,


                                            /s/ Robert M. Shaw
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